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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                  )       Chapter 7
                                                        )
AE LIQUIDATION, INC., et al.,                           )       Case No. 08-13031 (MFW)
                                                        )
                  Debtors.                              )       (Jointly Administered)
________________________________________                )
JEOFFREY L. BURTCH,                                     )
CHAPTER 7 TRUSTEE,                                      )
                                                        )       Adv. Pro. No. (MFW)
                        Plaintiff,                      )
                                                        )
         v.                                             )
                                                        )
SIERRA NEVADA CORPORATION,                              )
                                                        )
                        Defendant.                      )


                       COMPLAINT TO AVOID TRANSFERS
                   PURSUANT TO 11 U.S.C. § 547 AND TO RECOVER
                PROPERTY TRANSFERRED PURSUANT TO 11 U.S.C. § 550

         Jeoffrey L. Burtch, Esquire, the Chapter 7 Trustee (the “Trustee”, and/or the “Plaintiff”)

for the estates of AE Liquidation, Inc., et al.1 (the “Estates”, the “Debtors”, and/or “Eclipse”),

Plaintiff in this adversary proceeding, by his undersigned attorneys, in support of this Complaint

to avoid and recover preferential transfers against Sierra Nevada Corporation (the “Defendant”),

hereby alleges upon information and belief that:

                                     NATURE OF THE CASE

         1.     This Complaint seeks to avoid and recover from the Defendant, or from any other

person or entity for whose benefit the transfers were made, all preferential transfers of property

made for or on account of an antecedent debt made to or for the benefit of the Defendant by the
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        The Debtors are: AE Liquidation, Inc. (f/k/a Eclipse Aviation Corporation) and EIRB
Liquidation, Inc. (f/k/a Eclipse IRB Sunport, LLC), a wholly owned subsidiary of Eclipse Aviation
Corporation.
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Debtors during the ninety-day period prior to the filing of the Debtors’ bankruptcy petition under

11 U.S.C. §§ 547 and 550. To the extent that the Defendant has filed a proof of claim or has a

claim listed on the Debtors’ schedules as undisputed, liquidated, and not contingent, or has

otherwise requested payment from the Debtors or the Chapter 11 Estates, (collectively, the

“Claim”), this Complaint is not intended to be, nor should it be construed as, a waiver of the

Trustee’s right to object to such Claim for any reason, including, but not limited to, Section

502(a) through (j) of the Bankruptcy Code (“Section 502"), and such rights are expressly

reserved. Notwithstanding this reservation of rights, certain relief pursuant to Section 502 may

be sought by the Trustee herein as further stated below.

                                         JURISDICTION

        2.      This Court has subject matter jurisdiction over this adversary proceeding, which

arises under Title 11, arises in, and relates to a case under Title 11 (the "Bankruptcy Code"), in

the United States Bankruptcy Court for the District of Delaware (the "Bankruptcy Court"), Case

No. 08-13031 (MFW), pursuant to 28 U.S.C. §§ 157 and 1334(b).

        3.      The claims and causes of action set forth herein concern the determination,

allowance, disallowance, and amount of claims under 11 U.S.C. §§ 502, 547 and 550. This

adversary proceeding is a “core” proceeding to be heard and determined by the Bankruptcy

Court pursuant to 28 U.S.C. § 157(b)(2).

        4.      Venue is proper in the District of Delaware pursuant to 28 U.S.C. § 1409 in that

this proceeding arises in and relates to a bankruptcy case pending in the district and the claims

alleged herein arose in this district.




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                                         BACKGROUND

          5.   On November 25, 2008 (the “Petition Date”), the Debtors commenced their

respective reorganization cases (collectively, "Bankruptcy Cases") by filing voluntary petitions

for relief under Chapter 11 of title 11 of the United States Code §§101 et seq. in the Bankruptcy

Court.

          6.   These cases converted to cases under Chapter 7 on March 5, 2009 [Docket 535

(Order)]. Jeoffrey L. Burtch was appointed as interim trustee on March 5, 2009, pursuant to

Section 701 and is serving as the Trustee of these Estates pursuant to Section 702(d) of the

Bankruptcy Code.

          7.   Upon information and belief, the Defendant:

               (a)     is a corporation of the state of Nevada;

               (b)     has its principal place of business located in Sparks, NV;

               (c)     has a mailing address at 444 Salomon Circle, Sparks, NV 89434; and

               (d)     CSC Services of Nevada, Inc. is the Registered Agent with a mailing

                       address at 502 East John Street, Carson City, NV 89706.

                                      CLAIMS FOR RELIEF

                                          COUNT I
                     (Avoidance of Preference Transfers - 11 U.S.C. § 547)

          8.   The Trustee hereby incorporates all preceding paragraphs as if fully re-alleged

herein.

          9.   On or within 90 days prior to the Petition Date, the Debtors continued to operate

their business affairs, including the transfer of property, either by checks, cashier’s checks, wire

transfers or otherwise to certain entities, including the Defendant.


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       10.    The Trustee has completed an analysis of all readily available information of the

Debtors and is seeking to avoid all the transfers made by the Debtors to the Defendant within the

90 days preceding the Petition Date, August 27, 2008 to November 25, 2008 (the “Preference

Period”).

       11.    The Trustee has determined the total amount paid to the Defendant during the

Preference Period is not less than $ 63,673.09 (the “Transfers”), see attached payment history

and invoice history (“Exhibit A”).

       12.    During the course of this proceeding the Trustee may learn (through discovery or

otherwise) of additional transfers made to the Defendant during the Preference Period. It is the

Trustee’s intention to avoid and recover all transfers made by the Debtors of an interest of the

Debtors in property or for the benefit of the Defendant or any other transferee. The Trustee

reserves his right to amend this Original Complaint as to include: further information on the

Transfers, additional Transfers, revision of Defendant’s name, additional defendants, and/or

additional causes of action (i.e., but not exclusively, 11 U.S.C. §542, §544, §545, §548 and

§549) (collectively the “Amendments”), that may become known to the Trustee at any time

during this adversary proceeding, through formal discovery or otherwise, and for the

Amendments to relate back to this Original Complaint.

       13.    The Defendant was a creditor of the Debtors at the time of the Transfers within

the meaning of 11 U.S.C. § 101(10)(A). At the time of the Transfers, the Defendant had a right

to payment on account of an obligation owed to the Defendant by the Debtors.

       14.    The Transfers were to or for the benefit of the Defendant.

       15.    The Transfers were for, or on account of, antecedent debts owed by the Debtors

before such transfers were made.

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          16.   The Debtors were insolvent at all times during the 90 days prior to the Petition

Date.

          17.   As a result of the Transfers, the Defendant received more than it would have

received if: (i) this case was under chapter 7 of the Bankruptcy Code; (ii) the Transfers had not

been made; and (iii) the Defendant received payment of such antecedent debts under the

provisions of the Bankruptcy Code.

          18.   The Trustee is entitled to avoid the Transfers pursuant to 11 U.S.C. § 547(b).

                                          COUNT II
                           (Recovery of Avoided Transfers - 11 U.S.C. § 550)

          19.   The Trustee hereby incorporates all preceding paragraphs as if fully re-alleged

herein.

          20.   Trustee is entitled to avoid the Transfers pursuant to 11 U.S.C. § 547(b).

          21.   The Defendant was the initial transferee of the Transfers or the immediate or

mediate transferee of such initial transferee or the person for whose benefit the Transfers were

made.

          22.   Pursuant to 11 U.S.C. § 550(a), the Trustee is entitled to recover from the

Defendant the Transfers, plus interest thereon to the date of payment and the costs of this action.

                                          COUNT III
                    (Disallowance of all Claims - 11 U.S.C. § 502(d) and (j))

          23.   The Trustee hereby incorporates all preceding paragraphs as if fully re-alleged

herein.

          24.   The Defendant is an entity from which property is recoverable under Section 550

of the Bankruptcy Code.



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       25.     The Defendant is a transferee of Transfers avoidable under Sections 547 of the

Bankruptcy Code.

       26.     The Defendant has not paid the amount of the Transfers, or turned over such

property, for which Defendant is liable under Section 550 of the Bankruptcy Code.

       27.     Pursuant to 11 U.S.C. § 502(d), any and all Claims of the Defendant against the

Estate or the Trustee must be disallowed until such time as the Defendant pays to the Trustee an

amount equal to the aggregate amount of all the Transfers, plus interest thereon and costs.

       28.     Pursuant to 11 U.S.C. § 502(j), any and all Claims of the Defendant, and/or its

assignee, against the Estate or the Trustee previously allowed by the Debtors, must be

reconsidered and disallowed until such time as the Defendant pays to the Trustee an amount

equal to the aggregate amount of all the Transfers.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Trustee requests that this Court grant it the following relief against

Defendant:

       A.      Avoiding the Transfers described above as preferences under 11 U.S.C. § 547(b);

       B.      Granting judgment in favor of the Trustee against the Defendant in an amount of

$ 63,673.09;

       C.      Requiring the Defendant immediately to pay this amount to the Trustee pursuant

to section 550(a) of the Bankruptcy Code;

       D.      Disallowing any Claims of the Defendant, and/or its assignee, if it refuses to turn

over any Transfers to the Trustee pursuant to Section 502;

       E.      Awarding pre-judgment from the date of the transfers and post judgment interest

at the maximum legal rate running from the date of judgment herein until the date the judgment

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is paid in full, plus costs;

          F.    Granting the Trustee such other and further relief as the Court deems just and

proper.



                                            /s/ M. Claire McCudden
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                                            for AE Liquidation, Inc., et al.

November 19, 2010




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